Case 5:11-cv-01846-LHK Document 2068-13 Filed 10/20/12 Page 1of5

EXHIBIT 144
Samsung Replenish Android Smartphone

Case 5:11-cv-01846-LHK Document 2068-13 Filed 10/20/12 Page 2 of 5

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Samsung Replenish™

112 REVIEWS

SPH-M580
OVERVIEW

Stay connected with friends, with work, and with
the planet.

Speaking of being green, it runs Android.
Got a weak signal? You’re ready with Wi-Fi.

Capture the moment. Share the moment.

Please check with an authorized Samsung retailer for price information

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CONNECTED LIVING

bw /Tweet £39

FEATURES

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SPECS | GALLERY REVIEWS ACCESSORIES

Description

Widget, displays tips from Wildide
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Product Features

Stay connected with friends, with work,
and with the planet.

See

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The Replenish™ uses recycled and recyclable plastics
plus environmentally friendly packaging. You can feel
good about Mother Earth, and still text your mom with
the full QWERTY keyboard. The large 2.8" QVGA
(Quarter View Graphics Array) touchscreen offers
every color found in nature.

All Features

Speaking of being green, it runs
Android.

Your Replenish™ runs on Android 2.3,
Gingerbread, arguably the most popular and
versatile operating system of any smartphone. As
an Android device, you'll have access to over
150,000 apps, to customize your phone like no
other.

Got a weak signal? You're ready with
Wi-Fi.

If you ever find yourself in a place that has a weak
signal from your carrier, the Replenish™ can also
connect wherever there's Wi-Fi. The extra
bandwidth from Wi-Fi can also come in handy for
faster downloads and video chatting.

http://www.samsung.com/us/mobile/cell-phones/SPH-M580ZKASPR[10/15/2012 2:20:22 PM]

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Specifications

Carrier

Sprint

Color
Onyx Black, Arctic Blue,
Raspberry Pink

Platform

Android 2.3, Gingerbread

Display
2.8” Display

Display
262K TFT

Camera

2.0 Megapixel

iT {9)

SUPPORT
Samsung Replenish Android Smartphone

Case 5:11-cv-01846-LHK Document 2068-13 Filed 10/20/12 Page 3 of 5

Owner Reviews see ai

Overall: Features: Performance: Design: Value:

“Great Phonell” “Going Green!” “Easy to Use/Easy Like it? A lot?

1) =
on the Eyes A little? Tell
| originally upgraded from my Rant | love that it can charge from the us.
to a Trender. BIG MISTAKE!! | sun and is made of recycled parts, | love it! Can't put it down! Easy to you Gf One oF tess Wekd
returned my Trender and got the but it can use some upgrades in the . . .
: : add apps and so many to choose like to hear what you think of it.

Replenish. This is the phone | graphics capabilities and | would froml... Read More »
should have gotten the first time. love it if it supported flash. | love the

Breezy23 on July 21, 2011

The keyboard may be small, buy it fact that its super light and the

is easy to use even with big hands. speaker is very loud to rock out with
The screen is a good size for the thats the reason i got the phone
phone. It fits well in my hands and the capab...Read NViore »
a...Read More » gclarke4294 on September 04, 2011

willpon on September 10, 2011

Accessories see Ail

Standard Battery (1500 In-Car Power Charger Travel Charger (Micro Travel Charger
mAh) (Micro USB) USB) (Detachable with USB to
EBSO4465VABSTD CAD300UBEB/STD ATADU10JBEBSTD Micro USB Cable)

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Features and specifications are subject to change without prior notification

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Case 5:11-cv- eS LHK Document 2068-13 Filed 10/20/42 Boe 5 of 5

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